EXHIBIT A
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                                                   SETTLEMENT AGREEMENT

                            This Settlement Agreement (Agreement) is entered into among the United States

                   of America, acting through the United States Department of Justice and on behalf of the

                   Small Business Administration (collectively the “United States”), Lafayette RE

                   Management LLC (“Lafayette”), Thibault Adrien (“Adrien”), and Jesus Nunez-Unda (the

                   “Relator”) (hereafter collectively referred to as “the Parties”), through their authorized

                   representatives.

                                                                RECITALS

                            A.       Lafayette is a private asset management company based in New York, New

                   York that invests in residential real estate through several funds and other investment

                   vehicles. Lafayette’s portfolio includes single-family residential homes located in San

                   Antonio, Texas.

                            B.       Adrien is Lafayette’s founder and majority owner.

                            C.       On June 22, 2022, Relator filed a qui tam action in the United States District

                   Court for the Western District of Texas captioned United States ex rel. Nunez-Unda v.

                   Lafayette RE Management LLC, Brandywine Homes USA LLC, and Thibault Adrien

                   , No. 5:22-cv-00659-FB, pursuant to the qui tam provisions of the False Claims Act, 31

                   U.S.C. § 3730(b) (the “Civil Action”). Relator alleges inter alia that Lafayette received a

                   $335,000 Paycheck Protection Program (“PPP”) loan, and received forgiveness for the

                   entire amount of the loan, by making false certifications in its PPP loan application and

                   application for loan forgiveness. Relator further alleges Adrien was the signatory for

                   Lafayette in its execution of both the PPP loan application and application for loan

                   forgiveness. Relator also alleges that Brandywine Homes USA LLC received a $340,882



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                   PPP loan, and received forgiveness for the entire amount of the loan, by making false

                   certifications in its PPP loan application and application for loan forgiveness.

                            D.       Congress established the PPP in March 2020 as part of the Coronavirus Aid,

                   Relief, and Economic Security Act, P.L. 116-136 (the “CARES Act”), to provide

                   emergency financial assistance to millions of Americans suffering economic effects caused

                   by the COVID-19 pandemic. Under the program, eligible businesses could receive short-

                   term, low-interest, forgivable loans by certifying on their loan applications, in pertinent

                   part, (1) “[c]urrent economic uncertainty makes this loan request necessary to support the

                   ongoing operations of the applicant,” and (2) “[t]he funds will be used to retain workers

                   and maintain payroll or make mortgage interest payments, lease payments, and utility

                   payments . . . .” 85 Fed. Reg. 20811-01. Applicants submitted PPP loan applications to a

                   participating third-party lender, which received from SBA a fee for processing the loan. If

                   the loan was approved, the participating lender funded the loan, which was guaranteed by

                   the SBA up to the full amount of the loan.

                            E.        The United States contends that it has certain civil claims against Adrien

                   and Lafayette arising from Lafayette’s PPP loan application and request for loan

                   forgiveness, each of which was signed by Adrien. Specifically, the United States contends

                   Adrien and Lafayette applied for and received a $335,000 PPP loan by falsely certifying in

                   the loan application that the requested loan was necessary because of the economic

                   uncertainty Lafayette faced due to the COVID-19 pandemic. The United States further

                   contends Adrien and Lafayette applied for and received forgiveness of the entire loan

                   amount by submitting a forgiveness application containing false statements. This occurred




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                   during the period from March 1, 2020, through May 31, 2021. The conduct set forth in

                   this paragraph is referred to below as the Covered Conduct.

                            F.       This Settlement Agreement is neither an admission of liability by Adrien or

                   Lafayette nor a concession by the United States that its claims are not well founded.

                            G.       Adrien and Lafayette deny the United States’ allegations in Paragraph E and

                   the Relator’s allegations in the Civil Action.

                            H.       Relator claims entitlement under 31 U.S.C. § 3730(d) to a share of the

                   proceeds of this Settlement Agreement and to Relator’s reasonable expenses, attorneys’

                   fees, and costs.

                            To avoid the delay, uncertainty, inconvenience, and expense of protracted litigation

                   of the above claims, and in consideration of the mutual promises and obligations of this

                   Settlement Agreement, the Parties agree and covenant as follows:

                                                     TERMS AND CONDITIONS

                            1.       Adrien and Lafayette shall pay to the United States six hundred eighty

                   thousand dollars ($680,000.00) (“Settlement Amount”) by electronic funds transfer

                   pursuant to written instructions to be provided by the United States Attorney’s Office for

                   the Western District of Texas no later than 45 days after the Effective Date of this

                   Agreement.

                            2.       Conditioned upon the United States receiving the Settlement Amount and

                   as soon as feasible after receipt, the United States shall pay $129,200 to Relator by

                   electronic funds transfer (“Relator’s Share”).

                            3.       Subject to the exceptions in Paragraph 5 (concerning reserved claims)

                   below, and upon the United States’ receipt of the Settlement Amount, the United States



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                   releases Adrien and Lafayette, together with Lafayette’s current and former parent

                   corporations; direct and indirect subsidiaries; brother or sister corporations; divisions;

                   current or former corporate owners; and the corporate successors and assigns of any of

                   them, from any civil or administrative monetary claim the United States has for the

                   Covered Conduct under the False Claims Act, 31 U.S.C. §§ 3729-3733; the Program Fraud

                   Civil Remedies Act, 31 U.S.C. §§ 3801-3812; or the common law theories of breach of

                   contract, payment by mistake, unjust enrichment, and fraud.

                            4.       Subject to the exceptions in Paragraphs 5, 7, and 14 below, and upon the

                   United States’ receipt of the Settlement Amount, Relator, for himself and for his heirs,

                   successors, attorneys, agents, and assigns, releases Adrien and Lafayette, together with

                   Lafayette’s current and former parent corporations; direct and indirect subsidiaries; brother

                   or sister corporations; divisions; members; current or former corporate owners; and the

                   corporate successors and assigns of any of them, from any and all claims or causes of action

                   of any kind, known or unknown, or any liability, under common law, contract, tort, breach

                   of fiduciary duty, unjust enrichment, and/or any statutory claims the Relator has on behalf

                   of the United States arising from or related to the Covered Conduct under the False Claims

                   Act, 31 U.S.C. §§ 3729-3733.

                            5.       Notwithstanding the releases given in Paragraph 3 of this Agreement, or

                   any other term of this Agreement, the following claims and rights of the United States are

                   specifically reserved and are not released:

                                     a. Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

                                     b. Any criminal liability;




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                                     c. Except as explicitly stated in the Agreement, any administrative liability

                                         or enforcement right, or any administrative remedy, including the

                                         suspension and debarment rights of any federal agency;

                                     d. Any liability to the United States (or its agencies) for any conduct other

                                         than the Covered Conduct;

                                     e. Any liability based upon obligations created by this Agreement;

                                     f. Any liability of individuals other than Adrien;

                                     g. Any liability for express or implied warranty claims or other claims for

                                         defective or deficient products or services, including quality of goods

                                         and services;

                                     h. Any liability for failure to deliver goods or services due; and

                                     i. Any liability for personal injury or property damage or for other

                                         consequential damages arising from the Covered Conduct.

                            6.       Relator and his heirs, successors, attorneys, agents, and assigns shall not

                   object to this Agreement but agree and confirm that this Agreement is fair, adequate, and

                   reasonable under all the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B).

                   Conditioned upon Relator’s receipt of the Relator’s Share, Relator and his heirs,

                   successors, attorneys, agents, and assigns fully and finally release, waive, and forever

                   discharge the United States, its agencies, officers, agents, employees, and servants, from

                   any claims arising from the filing of the Civil Action or under 31 U.S.C. § 3730, and from

                   any claims to a share of the proceeds of this Agreement and/or the Civil Action.

                            7.       Relator, for himself, and for his heirs, successors, attorneys, agents, and

                   assigns, releases Adrien and Lafayette, together with Lafayette’s current and former parent



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                   corporations; direct and indirect subsidiaries; brother or sister corporations; divisions;

                   members; current or former corporate owners; and the corporate successors and assigns of

                   any of them, from any and all claims, causes of action of any kind, known or unknown,

                   under common law, contract, tort, breach of fiduciary duty, unjust enrichment, and/or

                   statutory civil monetary claims and any liability to Relator arising from the Civil Action,

                   the Covered Conduct, any claims under the False Claims Act, 31 U.S.C. §§ 3729-3733,

                   with the exception that Relator is not releasing any claims, causes of action, defenses, or

                   pleas for relief Relator has asserted against Adrien or Lafayette in the action entitled Jesus

                   Nunez-Unda v. Thibault Louis Philippe Adrien, Lafayette Re Management, LLC, and POL

                   Operator, LLC (Index No. 650971/2022) (the “NY Supreme Action”). For avoidance of

                   doubt, this exception includes, without limitation, claims, causes of action, defenses,

                   arguments, or pleas for relief for common law, contract, tort, breach of fiduciary duty,

                   unjust enrichment, and/or statutory civil monetary liability in the NY Supreme Action

                   arising from the Covered Conduct, whether pursued in the NY Supreme Action as currently

                   pleaded, by amended pleading, or by pleading conformed to the evidence, provided such

                   claims, causes of action, defenses, arguments, or pleas for relief do not include those claims

                   released in Paragraph 4 of this Agreement and/or dismissed pursuant to Paragraph 13 of

                   this Agreement.

                            8.       Adrien and Lafayette waive and shall not assert any defenses Adrien or

                   Lafayette may have to any criminal prosecution or administrative action relating to the

                   Covered Conduct that may be based in whole or in part on a contention that, under the

                   Double Jeopardy Clause in the Fifth Amendment of the Constitution, or under the




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                   Excessive Fines Clause in the Eighth Amendment of the Constitution, this Agreement bars

                   a remedy sought in such criminal prosecution or administrative action.

                            9.        Adrien and Lafayette fully and finally release the United States, its agencies,

                   officers, agents, employees, and servants, from any claims (including attorneys’ fees, costs,

                   and expenses of every kind and however denominated) that Adrien or Lafayette have

                   asserted, could have asserted, or may assert in the future against the United States, its

                   agencies, officers, agents, employees, and servants, related to the Covered Conduct or the

                   United States’ investigation or prosecution thereof.

                            10.       Adrien and Lafayette fully and finally release the Relator from any claims

                   (including attorneys’ fees, costs, and expenses of every kind and however denominated)

                   that Adrien and Lafayette have asserted, could have asserted, or may assert in the future

                   against the Relator arising from the Civil Action, the Covered Conduct, or the Relator’s

                   investigation and prosecution thereof with the exception that Adrien and Lafayette are not

                   releasing any claims, causes of action, counterclaims, defenses, or pleas for relief Adrien

                   or Lafayette has asserted against Relator in the action entitled Jesus Nunez-Unda v.

                   Thibault Louis Philippe Adrien, Lafayette Re Management, LLC, and POL Operator, LLC

                   (Index No. 650971/2022) (the “NY Supreme Action”). For avoidance of doubt, the

                   exception above includes, without limitation, claims, causes of action, counterclaims,

                   defenses, arguments, or pleas for relief for common law, contract, tort, breach of fiduciary

                   duty, unjust enrichment, and/or statutory civil monetary liability in the NY Supreme Action

                   arising from the Covered Conduct, whether pursued in the NY Supreme Action as currently

                   pleaded, by amended pleading, or by pleading conformed to the evidence.

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                                    a.      Unallowable Costs Defined: All costs (as defined in the Federal

                   Acquisition Regulation, 48 C.F.R. § 31.205-47) incurred by or on behalf of Adrien and

                   Lafayette, and Lafayette’s present or former officers, directors, employees, shareholders,

                   and agents in connection with the following subparagraphs (1) through (5), are unallowable

                   costs for government contracting purposes (hereinafter referred to as “Unallowable

                   Costs”).

                                            (1)   the matters covered by this Agreement;

                                            (2)   the United States’ audit(s) and civil investigation(s) of the

                                                  matters covered by this Agreement;

                                            (3)   Adrien’s and Lafayette’s investigation, defense, and corrective

                                                  actions undertaken in response to the United States’ audit(s)

                                                  and civil investigation(s) in connection with the matters

                                                  covered by this Agreement (including attorneys’ fees);

                                            (4)   the negotiation and performance of this Agreement;

                                            (5)   the payment Adrien and Lafayette make to the United States

                                                  pursuant to this Agreement and any payments that Adrien and

                                                  Lafayette may make to Relator, including costs and attorneys

                                                  fees.

                                    b.      Future Treatment of Unallowable Costs: Unallowable Costs will be

                   separately determined and accounted for by Adrien and Lafayette, and Adrien and

                   Lafayette shall not charge such Unallowable Costs directly or indirectly to any contract

                   with the United States.




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                                      c.      Treatment of Unallowable Costs Previously Submitted for Payment:

                   Within 90 days of the Effective Date of this Agreement, Adrien and Lafayette shall identify

                   and repay by adjustment to future claims for payment or otherwise any Unallowable Costs

                   included in payments previously sought by Adrien or Lafayette or any of Lafayette’s

                   subsidiaries or affiliates from the United States. Adrien and Lafayette agree that the United

                   States, at a minimum, shall be entitled to recoup from Adrien and Lafayette any

                   overpayment plus applicable interest and penalties as a result of the inclusion of such

                   Unallowable Costs on previously-submitted requests for payment. The United States,

                   including the Department of Justice and/or the affected agencies, reserves its rights to audit,

                   examine, or re-examine Adrien’s and/or Lafayette’s books and records and to disagree with

                   any calculations submitted by Adrien and/or Lafayette or any of Lafayette’s subsidiaries

                   or affiliates regarding any Unallowable Costs included in payments previously sought by

                   Adrien and/or Lafayette, or the effect of any such Unallowable Costs on the amount of

                   such payments.

                            12.       This Agreement is intended to be for the benefit of the Parties only.

                            13.       Upon receipt of the payment described in Paragraph 1, above, the United

                   States and the Relator shall promptly sign and file in the Civil Action a Joint Stipulation of

                   Dismissal of the Civil Action pursuant to Rule 41(a)(1), with prejudice as to Relator, and

                   with prejudice to the United States only as to the Covered Conduct.

                            14.       Each Party shall bear its own legal and other costs incurred in connection

                   with this matter, including the preparation and performance of this Agreement, with the

                   exception that, no later than 45 days after the Effective Date of this Agreement, Adrien and

                   Lafayette shall pay to Relator’s counsel the amount agreed to between Adrien, Lafayette,



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                   and Relator reflected in correspondence between Counsel dated October 23, 2024, in

                   satisfaction of any claims Relator may have for attorney’s fees and costs under 31 U.S.C.

                   § 3730(d).

                           15.       Each Party and signatory to this Agreement represents that it freely and

                   voluntarily enters into this Agreement without any degree of duress or compulsion.

                           16.       This Agreement is governed by the laws of the United States. The exclusive

                   jurisdiction and venue for any dispute relating to this Agreement is the United States

                   District Court for the Western District of Texas.          For purposes of construing this

                   Agreement, this Agreement shall be deemed to have been drafted by all Parties to this

                   Agreement and shall not, therefore, be construed against any Party for that reason in any

                   subsequent dispute.

                           17.       This Agreement constitutes the complete agreement between the Parties.

                   This Agreement may not be amended except by written consent of the Parties.

                           18.       The undersigned counsel represent and warrant that they are fully

                   authorized to execute this Agreement on behalf of the persons and entities indicated below.

                           19.       This Agreement may be executed in counterparts, each of which constitutes

                   an original and all of which constitute one and the same Agreement.

                           20.       This Agreement is binding on Adrien’s and Lafyette’s successors,

                   transferees, heirs, and assigns.

                           21.       This Agreement is binding on Relator’s successors, transferees, heirs, and

                   assigns.

                           22.       All parties consent to the United States’ disclosure of this Agreement, and

                   information about this Agreement, to the public.



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                            23.       This Agreement is effective on the date of signature of the last signatory to

                   the Agreement (Effective Date of this Agreement). Facsimiles of signatures, including

                   PDFs of signatures, or verifiable time-stamped electronic signatures, shall constitute

                   acceptable, binding signatures for purposes of this Agreement.




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                                              THE UNITED STATES OF AMERICA

                                                                      SAMUEL SHAPIRO Digitally signed by SAMUEL SHAPIRO

                   DATED:                                      BY:
                                                                                     Date: 2024.11.25 13:06:50 -06'00'



                                                                     SAMUEL M. SHAPIRO
                                                                     Assistant United States Attorney
                                                                     Western District of Texas


                                          ADRIEN AND LAFAYETTE - DEFENDANTS
                                 
                   DATED:                                      BY:
                                                                     LAFAYETTE RE MANAGEMENT LLC

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                   DATED:                                      BY:
                                                                     THIBAULT ADRIEN

                                
                   DATED:                                      BY:
                                                                     JOHN J. DELIONADO
                                                                     Counsel for Adrien and Lafayette



                                                JESUS NUNEZ-UNDA - RELATOR

                                22/11/24                                Jesus Nuñez-Unda
                   DATED:                                      BY: Jesus Nuñez-Unda (Nov 22, 2024 14:43 EST)
                                                                  JESUS NUNEZ-UNDA


                   DATED: 11/22/2024                           BY:
                                                                     MAX RODRIGUEZ
                                                                     Counsel for Relator




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